Case 18-82075-CRJ11   Doc 33     Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                               Document      Page 1 of 31
Case 18-82075-CRJ11   Doc 33     Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                               Document      Page 2 of 31
Case 18-82075-CRJ11   Doc 33     Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                               Document      Page 3 of 31
Case 18-82075-CRJ11   Doc 33     Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                               Document      Page 4 of 31
Case 18-82075-CRJ11   Doc 33     Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                               Document      Page 5 of 31
Case 18-82075-CRJ11   Doc 33     Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                               Document      Page 6 of 31
Case 18-82075-CRJ11   Doc 33     Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                               Document      Page 7 of 31
Case 18-82075-CRJ11   Doc 33     Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                               Document      Page 8 of 31
Case 18-82075-CRJ11   Doc 33     Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                               Document      Page 9 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 10 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 11 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 12 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 13 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 14 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 15 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 16 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 17 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 18 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 19 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 20 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 21 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 22 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 23 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 24 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 25 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 26 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 27 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 28 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 29 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 30 of 31
Case 18-82075-CRJ11   Doc 33 Filed 08/20/18 Entered 08/20/18 10:30:00   Desc Main
                            Document    Page 31 of 31
